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 6

 7                    IN THE UNITED STATES DISTRICT COURT
 8        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 9
     Donna Jackson                             Case No.: 2:20-cv-01295-DSF-JC
10
                                               NOTICE OF SETTLEMENT WITH
11                       Plaintiff,            DEFENDANT FIRST NATIONAL
                                               BANK OF OMAHA.
12
           v.
13

14

15
     First National Bank of Omaha

16

17                             Defendant.
18   TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
19         PLEASE TAKE NOTICE THAT plaintiff Donna Jackson and defendant
20   First National Bank of Omaha, have reached a settlement in principle of the above
21   captioned case and are in the process of documenting said settlement. Plaintiff
22   anticipates filing a dismissal of First National Bank of Omaha within 28 days once
23   the settlement is finalized.
24                                            Gale, Angelo, Johnson, & Pruett, P.C.
25   Dated: January 24, 2022                        /s/ Joe Angelo
                                                    Joe Angelo
26
                                                    Attorney for Plaintiff
27

28




                                      NOTICE OF SETTLEMENT - 1
